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          ATTACHMENT B
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                                                May 7, 2019

      By Email

      The Honorable Deborah Barnes
      United States Magistrate Judge
      Eastern District of California
      501 I Street
      Sacramento, CA 95814

      RE:    Coleman, et al. v. Newsom, et al.
             U.S. District Court, Eastern District of California, Case No. 2:90-cv-0520 KJM DB

      Dear Magistrate Judge Barnes:

            This letter concerns Gibson, Dunn & Crutcher LLP’s April 11, 2019 invoice seeking
      $396,589.74 for services rendered in March 2019.

              Defendants request that the Court disclose Gibson Dunn’s itemized billing records
      supporting the current invoice, and all prior invoices, so that Defendants may evaluate the
      reasonableness of the work performed to date in this matter. The Court previously held that “the
      detailed billing statements will be made a part of the record, filed under seal until the
      investigation is concluded, and so available for appellate review.” (Order 4, Feb. 11, 2019, ECF
      No. 6083.) Gibson Dunn argued, and the Court accepted, that disclosing the itemized billing
      records during its investigation could compromise Gibson Dunn’s work. (Id. at 4-5.) On April
      22, 2019, Gibson Dunn submitted its final report (see Minute Order, May 3, 2019, ECF No.
      6146), which the Court published on the public docket on May 3, 2019. (Neutral Expert Report,
      May 3, 2019, ECF No. 6147.) Because Gibson Dunn has concluded its investigation into all the
      matters that the Court requested (see id. at 1-6, 25-91), Defendants now should have a
      meaningful opportunity to evaluate the itemized billing records and reasonableness of Gibson
      Dunn’s fees (which have surpassed $1.1 million), and the Court should resolve any objections so
      that there is an adequate record for appellate review. (See E.D. Civ. L. R. 292 (setting forth the
      rules for taxing costs such as compensation of court-appointed experts, which include giving the
      party against whom costs are claimed the opportunity to file specific objections).)

             With Gibson Dunn’s itemized billing records in hand, Defendants could, in addition to
      analyzing the over 500 hours of work performed by seven timekeepers, evaluate certain
      questionable items billed as “costs/charges” in the April 11, 2019 invoice. For example, the
      invoice seeks $15,950 for “outside services/consultants.” Gibson Dunn may only be
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compensated for work performed by team members approved by the Court. (See, e.g., Amended
Order 2, Jan. 8, 2019, ECF No. 6064.) Without more information, Defendants and the Court
cannot verify the propriety of this billing entry, particularly given Gibson Dunn’s past
submission of an invoice seeking payment for an unauthorized timekeeper. (See Order 1-2, Feb.
26, 2019, ECF No. 6099.) As a further example of why the Court should provide the detailed
bills, the invoice seeks $3,053.00 for “transcripts/digesting.” Although Gibson Dunn transcribed
various witnesses’ interviews during the investigation, the summary invoice does not describe
how “digesting” is a reimbursable expense or who performed that task. As Gibson Dunn has
completed its investigation, Defendants should have access to the expert’s itemized billing
records to inform their objections to the current invoice, and past and future invoices.

        Defendants also state and reserve their objection to payment of this and future invoices
pending resolution of Defendants’ pending motion requesting leave to deposit any remaining
funds deemed payable to Gibson Dunn into the Court’s registry, given Defendants’ appeal of the
orders appointing Gibson Dunn under Federal Rule of Evidence 706. The Court denied that part
of Defendants’ motion seeking to stay payment of the then pending and approved invoices
(Order, Apr. 9, 2019, ECF No. 6122), but has not yet resolved the remainder of the motion.
(Minute Order, May 1, 2019, ECF No. 6139.) To maintain the status quo, Defendants request
that this Court defer ordering payment of the current invoice until the Court resolves Defendants’
pending motion.

                                             Respectfully submitted,

                                             /s/ Adriano Hrvatin

                                             ADRIANO HRVATIN
                                             Supervising Deputy Attorney General

                                     For:    XAVIER BECERRA
                                             Attorney General

cc:     Charles J. Stevens, Esq.
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